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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  Shattuck Bancshares, Inc., and SNB Bank, N.A.,          Case No.: 1:24-cv-24782-RAR


                                 Plaintiffs,

         vs.

  Eric Hannelius, Michael Shvartsman, Oksana
  Moore, Karla Knight, Elena Popova, Justin
  Soulen, Bill My Bnk, LLC, BT Assets Group,
  Inc., EFT Business Services, LLC, EnComPay,
  Inc., Hannelius-Knight Family Trust, MG Family
  Trust, OST, LLC, Pepper Pay, LLC, Rocket
  Holdings, LLC, Salt Money, Inc., Skylight
  Business Services, LLC, Transact First, Inc., and
  Transaction Processing Services, Inc.,

                                 Defendants.

       PLAINTIFFS SHATTUCK BANCSHARES, INC. AND SNB BANK, N.A.’S
   RULE 30 MOTION TO DEPOSE MICHAEL SHVARTSMAN AND INCORPORATED
                        MEMORANDUM OF LAW

         Pursuant to Federal Rule of Civil Procedure 30(a)(2)(B), Plaintiffs move for leave of

  court to depose Defendant Michael Shvartsman.

  1.     Federal Rule of Civil Procedure 30(a)(2)(B) requires leave of court before Plaintiff can

  depose any individual inmate confined in prison.

  2.     Michael Shvartsman is a defendant in this case and a central figure in the Complaint’s

  allegations.

  3.     Defendant Michael Shvartsman is an inmate confined in prison. He is in the custody of

  FCI Coleman Low correctional institution at 846 NE 54th Terrace, Sumterville, Florida 33521.

  4.     Defendant Michael Shvartsman’s inmate register number is 66276-510.

  5.     Undersigned counsel for the Plaintiff seeks to take the deposition of Michael Shvartsman

  for the purpose of discovery, for use at trial, and for such other purposes as are permitted under
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  the rules of the Court, any applicable Court Orders, the Federal Rules of Civil Procedure, and the

  Federal Rules of Evidence.

  6.     The parties conferred regarding this motion. Counsel for Defendants has attempted to

  reach Mr. Shvartsman to determine whether he opposes the motion, but has been unable to reach

  him.

         In light of the forgoing, and pursuant to Rule 30(a)(2)(B) of the Federal Rules of Civil

  Procedure, the Plaintiff requests leave to take the deposition of Michael Shvartsman.

                                        MEMORANDUM OF LAW

         Plaintiffs respectfully submit this memorandum supporting the underlying motion to

  depose Michael Shvartsman in compliance with Local Rule 7.1(c).

         Shvartsman is a central defendant in the litigation. He is also confined in FCI Coleman

  Low correctional institution. His testimony will be crucial to advancing the litigation and

  proving the Plaintiffs’ allegations. Federal Rule of Civil Procedure 30(a)(2)(B) requires

  Plaintiffs to seek leave of court to depose Shvartsman. Under that Rule, a “party must obtain

  leave of court, and the court must grant leave consistent with Rule 26(b)(1) and (2) … if the

  deponent is in prison.” Fed. R. Civ. P. 30(a)(2)(B). “The Court … should permit the deposition

  of an incarcerated individual unless an objecting party can show why the deposition is

  impermissible.” Aviation Koncepts, Inc. v. Starr Indemnity & Liab. Co., 2019 WL 7708456, at

  *1 (S.D. Fla. Nov. 27, 2019 2019); see also Shepard v. Alvarez, 2009 WL 1871966, at *1 (S.D.

  Fla. June 26, 2009). This court should grant Plaintiffs’ motion.




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   Dated: April 10, 2025

                                            Eliot Pedrosa
                                            JONES DAY
                                            600 Brickell Avenue, Suite 3300
                                            Miami, FL 33131
                                            Telephone: 305-714-9700
                                            Facsimile: 305-714-9799

                                            By: /s/Eliot Pedrosa
                                            Eliot Pedrosa
                                            Fla. Bar No. 182443
                                            epedrosa@jonesday.com

                                            Lawrence D. Rosenberg
                                            JONES DAY
                                            51 Louisiana Ave. N.W.
                                            Washington, DC 20001
                                            Telephone: 202-879-7622
                                            Facsimile: 202-626-1700

                                            By: /s/Lawrence D. Rosenberg
                                            Lawrence D. Rosenberg
                                            ldrosenberg@jonesday.com
                                            Admitted Pro Hac Vice

                                            Christine E. Cheung
                                            JONES DAY
                                            555 S. Flower Street, 50th Floor
                                            Los Angeles, CA 90071
                                            Telephone: 213-489-3939

                                            By: /s/Christine E. Cheung
                                            Christine E. Cheung
                                            cecheung@jonesday.com
                                            Admitted Pro Hac Vice

                                            Attorneys for Plaintiffs




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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 10, 2025, a true and correct copy of the foregoing was

  filed using the CM/ECF system which will send a notice of electronic filing to all counsel or parties

  on the service list.

                                                        /s/ Eliot Pedrosa
                                                        Eliot Pedrosa, Esq.
                                                        Attorney for Plaintiffs




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